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                                  JS-0007
                              
                        
          
        
      
    
  

  

  
    
      JS-0007
              John Scott
                  
        Categories
                        
Competitive Bidding and Proposals
              , 
County
              , 
Counties and County Commissioners Courts
              , 
Purchasing and Contracts
              , 
Public Contracts
              , 
Public Property
        
      
            
                  Summary
                      A volunteer fire department is not a political subdivision for purposes of a county land exchange under Local Government Code subsection 263.006(e).
      
                          
            Opinion File
                         js-0007.pdf 

      
          
                
        
      
    

          
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    RQ-0497-KP

      
  
                January 03, 2023

      
  
      
      
        Request PDF
                     RQ0497KP.pdf 

      
      
    
  



  
  

  
  

  


      
      


  
  


    
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            PO Box 12548Austin, TX 78711-2548
          
        

      
      

        
          
                    
    
      
              
                              
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